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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

o-(R- 0062 JAM”

UNITED STATES OF AMERICA, CASE nod |
VIOLATIONS: 18 U.S.C. § 1343 -
Wire Fraud (2 counts) ;

18 U.S.C. §§ 982(a) (1) and

(a) (2) - Criminal Forfeiture

Plaintiff,
Vv.

Anna Kuzmenko,
aka Anna Sorokina,

Defendant.

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INDICTMENT.

COUNTS ONE THROUGH TWO: [18 U.S.C. § 1343 - Wire Fraud]

The Grand Jury charges:
ANNA KUZMENKO,
defendant herein, as follows:
A. INTRODUCTION

At all times relevant to this indictment:

1. Defendant ANNA KUZMENKO was a resident of West Sacramento,
California, and was a straw buyer who purchased a property located at
4119 Tyrone Way, Carmichael, California in exchange for cash.

2. Peter Kuzmenko, who has been indicted elsewhere for the

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conduct described herein, was the husband to defendant ANNA KUZMENKO.
Among other things, Peter Kuzmenko located sellers and recruited straw
buyers to purchase residential properties to include his wife,
defendant ANNA KUZMENKO.

3. Vera Kuzmenko, who has been indicted elsewhere for the
conduct described herein, was the owner of VK Tax Services, a tax
preparation business. She was issued a California Department of Real
Estate salesperson license on April 20, 2005, which was conditionally
suspended on October 21, 2006.

4. Aaron New, who has been indicted elsewhere for the conduct
described herein, was licensed with the California Department of Real
Estate as a real estate broker. New was the owner and principal
operator. of New Dream Real Estate & Finance (NDREF), a company with
its principal place of business in Sacramento, California. NDREF
engaged in the business of originating mortgage loans for residential
properties. New and NDREF maintained physical office space at the
offices of VK Tax Services. Aaron New and/or vera Kuzmenko, among
other things, prepared Uniform Residential Loan Applications
(hereinafter URLAs) for defendant in connection with the fraudulent
scheme described herein.

B. SCHEME TO DEFRAUD

5. Beginning on a date unknown to the Grand Jury, but not later
than on or about February 8, 2007, and continuing to and including at
least in or about February 28, 2007, in the State and Eastern District
of California and elsewhere, defendant knowingly devised, participated
in, and executed a material scheme to defraud a mortgage lending
institution and a scheme to obtain money and property from said

institution by means of materially false and fraudulent pretenses,

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representations and. promises, and the concealment of material facts.

6. In approximately February 2007, the defendant was responsible
for the origination of over $1 million in residential mortgage loans
for the property listed below, purchased through the straw buyer

listed below.

 

Property Address Straw Buyer

 

4119 Tyrone Way, Carmichael, CA ANNA KUZMENKO

 

 

 

 

The property was foreclosed upon resulting in a total loss to the

lender of over $460,000.

7. For the above-listed transaction, the scheme to defraud was
carried out, in substance, generally in the following manner:

a. Peter Kuzmenko found the seller of the above mentioned
property, and he artificially inflated the price of the subject
residential property purchased as part of the scheme. This was done
to fraudulently induce the lender to lend more money than the subject
residential property was worth. The excess money was split ‘among
Peter Kuzmenko, the defendant, and others.

b. Peter Kuzmenko recruited the defendant to purchase the
subject residential property via 100% financing.

c. Vera Kuzmenko and/or Aaron New prepared URLAs for the
defendant that contained materially false and fraudulent documents and
statements as to the defendant’s income, assets, and intention to
occupy the property as a primary residence. The defendant signed
these applications knowing that the information contained therein was
false and fraudulent. These false statements and documents included

within the URLA and completed loan application package were materially

 
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relied upon by the mortgage lending institution in deciding to approve
and fund the subject loan.
(1) 4119 Tyrone Way, Carmichael, CA: In or about February
2007, defendant ANNA KUZMENKO purchased 4119 Tyrone Way for $1,000,000
from A.K. based on false and fraudulent loan applications and
supporting documentation. As a result of this transaction, A.K. paid
Peter. Kuzmenko and the defendant at the close of escrow approximately
$177,000 for the purchase of 4119 Tyrone Way property. Approximately
$25,770 in commissions went to Vera Kuzmenko/Aaron New for the
purchase of 4119 Tyrone Way.
C. USE OF INTERSTATE WIRES

8. On or about the dates listed below, in the State and Eastern
District of California, for the purpose of executing the
aforementioned scheme and artifice to defraud, and attempting to do
so, the defendant, as more specifically set forth below, knowingly
transmitted and caused to be transmitted by means of wire
communication in interstate commerce certain writings, signs, signals,

pictures and sounds.

 

 

 

 

COUNT DATE OF DESCRIPTION/ STRAW SENDER RECEIVER
WIRE BUYER

1 02/28/07 | $814,562.44 wire First Stewart
transfer (4119 Tyrone Franklin Title of

Way) Financial Sacramento
2 02/28/07 | $199,573.11 wire First Stewart
transfer (4119 Tyrone Franklin Title of

Way) Financial | Sacramento

 

 

 

 

 

 

 

All in violation of Title 18, United States Code, Sections 2 and 1343.
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FORFEITURE ALLEGATION: [18 U.S.C. §§ 982(a) (1) and (a) (2) - Criminal
Forfeiture]

1. Upon conviction of one or more of the offenses alleged in
Counts One and Two of this Indictment, defendant ANNA KUZMENKO shall
forfeit to the United States of America, pursuant to Title 18, United
States Code, Section 982(a) (2), all property, real or personal,
involved in such violations for which the defendant is convicted, and
any property traceable to such property, including but not limited to
the following:

a. A sum of money equal to the total amount of money
involved in each offense for which the defendant is convicted.

2. If any property subject to forfeiture, as a result of the
offenses alleged in Counts One and Two of this Indictment:

(a) cannot be located upon the exercise of due
diligence;
(b) has been transferred or sold to, or deposited with,
a third party;
(c) has been placed beyond the jurisdiction of the
court;
(d) has substantially diminished in value; or
(e) has been commingled with other property which
cannot be divided without difficulty;
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It is the intent of the United States, pursuant to Title 18, United
States Code, Section 982(b) (1), incorporating Title 21, United States
Code, Section 853(p), to seek forfeiture of any other property of said

defendant up to the value of the property subject to forfeiture.

A TRUE BILL.

 

 

  

 

IN B.YW. E
United States Attorney

 

 
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UNITED STATES DISTRICT COURT

Eastern District of California

Criminal Division

 

THE UNITED STATES OF AMERICA

VS.

ANNA KUZMENKO aka ANNA SOROKINA

 

INDICTMENT
VIOLATION(S): 18 U.S.C. § 1343
- Wire Fraud (2 counts);
18 U.S.C. §§ 982(a) (1) and (a) (2)
- Criminal Forfeiture

 

A true bill,

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PENALTY SLIP tr “O06 2 JAM

ANNA KUZMENKO aka ANNA SOROKINA

 

COUNTS ONE and TWO:
VIOLATION: 18 U.S.C. § 1343 - Wire Fraud
PENALTY: Not more than $250,000 Fine; or

Not more than 20 years Imprisonment, or both;
Not more than 3 years of supervised release.

CRIMINAL FORFEITURE: As alleged in the Indictment

ASSESSMENT: $100 special assessment for each count.
